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                                  UNITED STATES DISTRICT COURT
   9                             CENTRAL DISTRICT OF CALIFORNIA
  10
  11    JOANN DAVIS AND PAUL                         )
        CILLEY,                                      )   CASE NO. EDCV 13-0483 CBM (SPx)
  12                                                 )
                               Plaintiffs,           )
  13                                                 )   ORDER GRANTING IN PART,
                         vs.                         )   DENYING IN PART, DEFENDANTS’
  14                                                 )   MOTION FOR SUMMARY
                                                     )   JUDGMENT
  15     UNITED STATES OF AMERICA,                   )
                                                     )
  16     NORMAN CONLEY, THOMAS                       )
         REYNOLDS, MIKE HARRISON                     )
  17     AND PATRICIA SEARLE                         )
                                                     )
  18                                                 )
                               Defendants.           )
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             Before the Court is Defendants’ Motion for Summary Judgment (the
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       “Motion”). (Dkt. 34.) Defendants’ Motion seeks judgment on all of Plaintiffs’
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       claims. The Motion is fully briefed, and oral arguments were heard.
  23
                                             I.   JURISDICTION
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             This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331
  25
       and 1346.
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                   II.         FACTUAL AND PROCEDURAL BACKGROUND
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             Joann Davis (“Plaintiff” or “Davis”) was married to Robert Davis, an
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   1   engineer at North American Rockwell, until Robert Davis died in 1986.
   2   (Plaintiffs’ First Amended Complaint (“FAC”) ¶ 14 (Dkt. 16).) Davis alleges that
   3   at some time during the 1970s, Robert Davis brought home two paperweights.
   4   (Id. ¶15.) One of these paperweights contained a small portion of the Apollo 11
   5   heat shield, and the other contained tiny pieces of lunar material (“moon rocks”).
   6   (Id. ¶ 15.) Following Robert Davis’ death, Mrs. Davis kept the paperweights. (Id.
   7   ¶ 15-16.) Davis remarried in 1991 and her new husband, Paul Cilley (“Cilley”), is
   8   also a plaintiff in this case (collectively, Cilley and Davis are the “Plaintiffs”).
   9         In the spring of 2011, Davis came across difficult financial times and sought
  10   to sell the paperweights. (Id. ¶18.) Because Davis had difficulty selling the
  11   paperweights on her own, she contacted NASA on May 10, 2011 through an email
  12   address she found on the NASA website. (Declaration of Joann Davis in
  13   Opposition to Defendants’ Motion for Summary Judgment (“Davis Decl.”), ¶13-
  14   17 (Dkt. 51).) Davis explained that she wanted “to find someone that could help
  15   [her] find a buyer for 2 rare Apollo 11 space artifacts.” (Id. ¶ 17.) Davis also
  16   stated that these items were given to her late husband by Neil Armstrong and that
  17   one of the artifacts contained an “Apollo 11 Moon Rock.” (Id.) Davis provided
  18   her phone number and email address and asked that NASA contact her. (Id.)
  19         Davis’ email was forwarded to the NASA Office of the Inspector General
  20   (“OIG”) at the Kennedy Space Center in Florida. Defendant Searle, the Resident
  21   Agent in Charge for the NASA OIG, received the email and assigned Defendant
  22   Conley, a Special Agent and Criminal Investigator for the OIG, to engage a
  23   registered confidential source (the “RS”) to conduct a series of monitored phone
  24   calls with Davis to learn more about the alleged lunar material. (Motion, Ex. 2,
  25   Declaration of Patricia Searle in support of Federal Defendants’ Motion for
  26   Summary Judgment (“Searle Decl.”) at ¶¶ 7-8 (Dkt. 34-10).)
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   1         A few hours after Davis sent the email to NASA, The RS called Davis. The
   2   RS introduced himself to Davis as “Jeff” and told her that he was a broker who
   3   would help Davis sell the paperweight containing the moon rocks. (Davis Decl. ¶
   4   18-19.) Davis and the RS exchanged several telephone calls over the next week
   5   discussing the sale of the moon rock paperweight to the RS’s fictitious buyer.
   6   (Motion, Attach. A-H.) Davis stated that she thought the moon rocks were worth
   7   a lot of money and she told the RS that she was in negotiations with Richard
   8   Branson (the President of Virgin Airlines) who was interested in buying the moon
   9   rocks from her. (Motion, Ex. 3, Conley Affidavit in support of Search Warrant
  10   (“Conley Affidavit”), ¶ 11 (Dkt. 34-11); Motion, Attach. B (Dkt. 34-3), p. 47.)
  11   The RS told Davis that he found a buyer for her moon rock, and that his buyer
  12   would buy the moon rock for $1.7 million. (Id.)
  13         On May 18, 2011, less than ten days after Davis’ initial email to NASA, the
  14   RS called Davis to advise her that he was in Southern California and was ready to
  15   meet with her. (Motion, Attach. G (Dkt. 34-8).) They planned to meet the
  16   following day in a public location to finalize a sale of the moon rocks. (Id.)
  17         On May 19, 2011, Defendant Conley requested and obtained a search
  18   warrant to search Davis and to seize the moon rock. In the affidavit supporting the
  19   requested search warrant, Defendant Conley stated that, pursuant to the National
  20   Aeronautics and Space Act of 1958, 42 U.S.C. §2473, and NASA Policy Directive
  21   13.87 the United States government owns any items associated with the Apollo
  22   missions. (Conley Affidavit ¶¶ 14, 15.) Conley also stated that, based on the
  23   photographs of the moon rock that Davis sent to the RS, an expert at NASA (Dr.
  24   Lofgren) could not determine whether or not the moon rock was authentic. (Id. ¶
  25   12.) Based on the recorded calls between the RS and Davis, and the inability to
  26   determine the moon rock’s authenticity, Conley submitted that there was probable
  27   cause to believe that Davis was “in possession of contraband, evidence of a crime,
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   1   fruits, and instrumentalities of the crime concerning a violation of Title 18, United
   2   States Code, Section 641.” 1 (Id. ¶ 16.) Defendant Searle, who reviewed the
   3   affidavit while in the NASA facility in Florida, also “believed that Davis was in
   4   possession of stolen government property (an Apollo 11 lunar sample) in violation
   5   of 8 U.S.C. §641” based on the statutes, NASA policies and directives, and
   6   recorded telephone calls. (Searle Decl. ¶13.) Defendant Searle reviewed and
   7   approved the affidavit used to support the search warrant. (Id.) A magistrate
   8   judge for this Court issued the search warrant and authorized Defendants “to
   9   search Joann L. Davis’ person and the personal effects carried on or about [her],
  10   for evidence, fruits, and instrumentalities concerning violations of Title 18 United
  11   States Code, Section 641” and to seize “the purported Apollo 11 lunar material
  12   offered for sale by Davis.” (Conley Affidavit ¶¶ 4, 6, 7.)
  13              After securing the warrant, the RS, Defendants Conley, Reynolds, and
  14   Harrison, and three Riverside County Sheriff’s personnel assisting the operation
  15   who are not Defendants, went to a Denny’s restaurant in Lake Elsinore, California
  16   to serve the warrant on Davis. (Declaration of Norman Conley in Support of
  17   Federal Defendants’ Motion for Summary Judgment (“Conley Decl.”), ¶21 (Dkt.
  18   34-1).) All of the officers were in plain clothes. (Id.) The RS called Davis to
  19   meet him at the Denny’s Restaurant, and she agreed. (Davis Decl. ¶ 20.)
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  21       8 U.S.C. §641 reads:
              Public money, property or records. Whoever embezzles, steals, purloins, or knowingly converts to his use or
  22          the use of another, or without authority, sells, conveys or disposes of any record, voucher, money, or thing of
              value of the United States or of any department or agency thereof, or any property made or being made under
  23          contract for the United States or any department or agency thereof; or Whoever receives, conceals, or retains
              the same with intent to convert it to his use or gain, knowing it to have been embezzled, stolen, purloined or
  24          converted—
              Shall be fined under this title or imprisoned not more than ten years, or both; but if the value of such property
  25          in the aggregate, combining amounts from all the counts for which the defendant is convicted in a single case,
              does not exceed the sum of $1,000, he shall be fined under this title or imprisoned not more than one year, or
  26          both.
  27          The word “value” means face, par, or market value, or cost price, either wholesale or retail, whichever is
              greater.
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   1         Davis arrived at the Denny’s restaurant with Cilley intending to meet “Jeff”
   2   and to sell the paperweights. Upon entering the restaurant, the RS greeted Davis
   3   and Cilley and invited them to his table. After a few moments of conversation,
   4   Davis put both paperweights on the table. (Davis Decl. ¶ 24.) Shortly thereafter,
   5   a hand grabbed for the moon rock paperweight and Davis and Cilley were
   6   restrained. (Davis Decl. ¶ 25-26.) Defendants Conley and Harrison exerted some
   7   force on Cilley. At some point, Davis lost control of her bladder and suffered
   8   bruises and soreness. (Davis Decl. ¶ 26-27.)
   9         After the altercation subsided, Plaintiffs were patted down for weapons and
  10   were taken outside into the parking lot. Neither Plaintiff was armed. Davis was
  11   then questioned and searched, and the moon rocks were confiscated. Cilley was
  12   driven home by officers. As Davis was questioned, she was not permitted to clean
  13   herself despite her earlier loss of bladder control. After more than an hour and a
  14   half, Davis was given permission to drive herself home. At her home, she was
  15   told that she could not go inside, then, later, she was told that she could sit in her
  16   kitchen. (Davis Decl. ¶ 32.) She was still not allowed to go to the bathroom or
  17   change her clothes. (Id.) Defendants retained possession of paperweight
  18   containing the moon rocks. (Id. ¶ 33.)
  19         After Dr. Gary Lofgren, NASA’s senior lunar expert, determined that the
  20   moon rocks were authentic, Defendant Searle, authorized Defendant Conley to
  21   open a full investigation of the matter. (Searle Decl. ¶17.) The United States
  22   Attorney in Orlando Florida issued a formal declination to prosecute Davis, and
  23   Defendant Searle approved closing the investigation. (Id.) Neither Davis nor
  24   Cilley were charged with a crime.
  25         Plaintiffs filed this lawsuit against the United States government and the
  26   NASA officials involved in the altercation. In Plaintiffs’ first amended complaint
  27   they brought ten causes of action: (1) Conversion, (2) Battery, (3) False
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   1   Imprisonment, (4) Abuse of Process, (5) Negligence, (6) Petition for Return of
   2   Property, (7) Violation of the Fourth Amendment by Deprivation of Plaintiffs’
   3   Rights to be Free from Physical Abuse and Excessive Force, (8) Wrongful Search
   4   and Seizure under the Fourth and Fifth Amendments, (9) Wrongful Taking in
   5   Violation of the Fourth and Fifth Amendments, and (10) Wrongful Detention and
   6   Arrest in Violation of the Fourth and Fifth Amendments.
   7                             I.    STATEMENT OF LAW
   8         Summary judgment against a party is appropriate when the pleadings,
   9   depositions, answers to interrogatories, and admissions on file, together with the
  10   affidavits, if any, show that there is no genuine issue as to any material fact. Fed.
  11   R. Civ. P. 56. The moving party bears the initial burden of establishing the basis
  12   for its motion and identifying those portions of the pleadings and discovery
  13   responses that demonstrate an absence of a genuine issue of material fact. Celotex
  14   Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the moving party meets its initial
  15   burden, the nonmoving party must then set forth, by affidavit or as otherwise
  16   provided in Rule 56, specific facts showing that there is a genuine issue for trial.
  17   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986). “Conclusory,
  18   speculative testimony … is insufficient to raise genuine issues of fact and defeat
  19   summary judgment.” Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th
  20   Cir. 2007).
  21
                                       II.   DISCUSSION
  22
       A.    Plaintiffs’ Ownership of the Moon Rock
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             A key issue in this case is: who can own a moon rock? Defendants argue
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       that only the United States government is entitled to own lunar material obtained
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       from its NASA missions. Defendants provide statutory authority supporting that
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       private persons cannot own lunar material. See National Aeronautics and Space
  27
       Act of 1958, Pub. L. No. 111–314; NASA Policy Directive 1387.2F. Plaintiffs
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   1   also provide excerpts of Dr. Lofgren’s deposition testimony, which states that
   2   “lunar samples were deemed NASA property, and [the United States has]
   3   exclusive control over them.” (Declaration of Jon R. Schlueter in Opposition to
   4   Motion for Summary Judgment, Ex. 4 (Dkt. 49-4).) Plaintiffs argue that the moon
   5   rocks in the paperweight are their lawful property because the United States
   6   government gave Robert Davis the paperweight as a gift or an award. The
   7   evidence before this Court, however, demonstrates only that Davis believes the
   8   paperweights were given to her late husband. (Davis Decl. ¶ 9.) There is no
   9   evidence that Davis’ late husband ever legally owned or acquired the
  10   paperweights, and there is no evidence supporting Plaintiffs’ argument that the
  11   United States gave Robert Davis the moon rocks. In fact, the evidence before the
  12   Court proves that Plaintiffs do not know how nor when Robert Davis acquired the
  13   moon rock. (See Davis Decl. ¶¶ 8-9.) Because Plaintiffs provide no evidence that
  14   Robert Davis acquired the paperweights lawfully, Davis’ speculation that her late
  15   husband received the lunar material as a gift or award fails to create a material
  16   issue of fact. See Soremekun, 509 F.3d at 984. Defendants are therefore entitled
  17   to summary judgment on all of Plaintiffs’ claims in which Plaintiffs’ lawful
  18   ownership of the moon rocks is an element. Accordingly, the Court grants
  19   summary judgment as to Plaintiffs First Cause of Action for Conversion, Sixth
  20   Cause of Action for Petition for Return of Property, and Ninth Cause of Action for
  21   Wrongful Taking under the Fifth Amendment.
  22   B.    Moving Party’s Burden on Summary Judgment
  23         As Defendants moved for summary judgment, they bear the initial burden
  24   of establishing the basis for their motion and identifying those portions of the
  25   pleadings and discovery responses that demonstrate an absence of a genuine issue
  26   of material fact. Celotex, 477 U.S. at 323. In their moving papers, Defendants fail
  27   to establish the basis of their motion as to Plaintiffs’ Third, Fourth, and Fifth
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   1   Causes of action (false imprisonment, abuse of process, and negligence).
   2   Accordingly, the Court cannot find that Defendants have met their initial burden
   3   under the federal rules, and summary judgment as to these claims is denied.
   4   C.      Remaining Causes of Action
   5           The following causes of action remain for analysis: Battery, Excessive
   6   Force, Wrongful Search and Seizure, and Wrongful Detention.
   7                1. Plaintiffs’ Second Cause of Action: Battery
   8           Plaintiffs bring a battery claim under the Federal Torts Claims Act
   9   (“FTCA”). 28.U.S.C. §1346. Sections 1346(b) and 2674 of the FTCA provide
  10   that "[t]he United States shall be liable, respecting the provisions of this title
  11   relating to tort claims, in the same manner and to the same extent as a private
  12   individual under like circumstances.” 28 U.S.C. §2674. In “an action under the
  13   FTCA, a court must apply the law the state courts would apply in the analogous
  14   tort action.” Rhoden v. United States, 55 F.3d 428, 431 (9th Cir. 1995). To
  15   prevail on their battery claim, Plaintiffs must provide evidence “that: (1) the
  16   defendant touched the plaintiff or caused the plaintiff to be touched with the intent
  17   to harm or offend the plaintiff; (2) the plaintiff did not consent to the touching; (3)
  18   the plaintiff was harmed or offended by defendant's conduct; and (4) a reasonable
  19   person in plaintiff's situation would have been offended by the touching.” Avina
  20   v. United States, 681 F.3d 1127, 1131 (9th Cir. 2012).
  21           Evidence establishes that two federal employees, Mr. Conley and Mr.
  22   Harrison, touched Plaintiff Cilley. (See Declaration of Michael Harrison
  23   (“Harrison Decl.”) at ¶¶ 15-16.) There is no evidence that any federal employee
  24   touched Plaintiff Davis.2 Davis declares that she saw “out of the corner of one
  25   eye” two men grabbing Cilley, “[o]ne man had his arm around [Cilley’s] neck
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  27   2
        Evidence shows that Davis was touched by Riverside officer Robert Cornett, who is not a defendant in this case
       and who is not a federal employee. (See Davis Decl., Ex. 4; Declaration of John R. Schlueter in Opposition to
  28   Motion for Summary Judgment, Ex. 2, p. 83-84).

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   1   from behind. The other grabbed his left arm and bent his hand back and got him
   2   to the floor…on his knees.” (Davis Decl. ¶26.) Defendants provide evidence that
   3   Agent Conley and Defendant Harrison “secured Mr. Cilley’s left arm and wrist”
   4   after “Cilley began moving his arms and hands toward his waistband” and the
   5   Defendants “became concerned [he] might be reaching for a weapon.” (Conley
   6   Decl. ¶ 26; Harrison Decl. ¶ 14-15.)
   7         Plaintiffs does not provide any evidence creating a material issue of fact in
   8   dispute as to whether any United States employee touched Cilley with the intent to
   9   harm or offend Cilley. Plaintiffs’ battery claim, therefore, cannot withstand
  10   summary judgment.
  11   D.    Bivens Claims Against Individual Defendants
  12         Plaintiffs also allege violations of their Fourth and Fifth Amendment rights
  13   under the United States Constitution against the Individual Defendants Conley,
  14   Reynolds, Harrison, and Searle. There is a private right of action against federal
  15   officials who violate the constitutional rights of others. See Bivens v. Six
  16   Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).
  17             1. Plaintiffs’ Seventh Cause of Action: Excessive Force
  18         Defendants move for summary judgment on Plaintiffs’ Seventh cause of
  19   action under the doctrine of qualified immunity. (Motion at 12). In resolving
  20   questions of qualified immunity at summary judgment, courts engage in a two-
  21   pronged inquiry. Tolan v. Cotton, 134 S. Ct. 1861, 1865 (2014). The first
  22   question is whether the facts, taken in the light most favorable to the party
  23   asserting the injury, show the officer's conduct violated a federal right, and the
  24   second question is whether the right in question was “clearly established” at the
  25   time of the violation. Id.
  26         For qualified immunity, this Court must first consider whether the evidence,
  27   taken in the light most favorable to Plaintiffs, show that the Defendants’ conduct
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    1   violated a federal right. The “use of force is contrary to the Fourth Amendment if
    2   it is excessive under objective standards of reasonableness.” Meredith v. Erath,
    3   342 F.3d 1057, 1061 (9th Cir. 2003) (quoting Saucier v. Katz, 533 U.S. 194, 202
    4   (2001)). The Court pays “careful attention to the facts and circumstances of [the]
    5   particular case, including the severity of the crime at issue, whether the suspect
    6   poses an immediate threat to the safety of the officers or others, and whether [the
    7   suspect] is actively resisting arrest or attempting to evade arrest by flight." Id.
    8   (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)). Here, Plaintiffs were
    9   accused of a property crime—possessing and attempting to sell government
  10    property (the moon rocks). Plaintiffs were an elderly couple who posed no actual
  11    threat to Defendants. However, it is undisputed that Conley and Harrison were
  12    concerned about Cilley possessing a firearm. While the amount of force applied
  13    to Cilley is disputed, there is no evidence creating a dispute that Defendants’
  14    actions (regardless of what they precisely were) were unreasonable given
  15    Defendants’ concern. Plaintiffs, therefore, cannot show that Defendants’ conduct
  16    violated a federal right—even viewing the evidence in the light most favorable to
  17    Plaintiffs. See Tolan, 134 S. Ct. at 1866 (2014) (holding that “courts must take
  18    care not to define a case's ‘context’ in a manner that imports genuinely disputed
  19    factual propositions”).
  20          As Plaintiffs fail to establish a genuine issue of material fact as to whether
  21    Defendants used excessive force, this Court need not reach the second question
  22    under qualified immunity and analyze whether the federal right was “clearly
  23    established.” See Pearson v. Callahan, 555 U.S. 223, 227 (2009). The Court
  24    grants summary judgment in favor of Defendants as to Plaintiffs’ seventh cause of
  25    action.
  26              2. Plaintiffs’ Eighth Cause of Action: Wrongful Search & Seizure
  27          Defendants move for summary judgment on Plaintiffs’ Eighth Cause of
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    1   Action under the doctrine of qualified immunity and under the argument that
    2   Defendants acted reasonably in the course of obtaining a warrant for a search of
    3   Davis and seizure of the moon rocks. (Motion at 23-24.)
    4         Plaintiffs argue that their Eighth Cause of Action is a claim for judicial
    5   deception and that their claim is supported by evidence that Defendants Conley
    6   and Searle falsified the affidavit supporting the search warrant. (Opposition to
    7   Motion for Summary Judgment (“Opposition”), pp. 19-21 (Dkt. 48).) To survive
    8   summary judgment on a claim of judicial deception, a plaintiff must (1) make "a
    9   substantial showing of deliberate falsehood or reckless disregard for the truth,"
  10    and (2) "establish that but for the dishonesty, the challenged action would not have
  11    occurred." Butler v. Elle, 281 F.3d 1014, 1024 (9th Cir. 2002) (per curiam)
  12    (internal quotations and citations omitted). The Ninth Circuit has “applied the rule
  13    that summary judgment on the ground of qualified immunity is not appropriate
  14    once a plaintiff has made out a judicial deception claim.” Chism v. Washington
  15    State, 661 F.3d 380, 393 (9th Cir. 2011).
  16          To support a claim of judicial deception, Plaintiffs rely on a redlined
  17    affidavit showing changes that Defendant Conley made to an early draft of his
  18    affidavit as compared to the final affidavit submitted to the magistrate judge.
  19    (Declaration of Jon Schlueter in Opposition to Motion for Summary Judgment,
  20    Ex. 3 (Dkt. 52-3).) Plaintiffs argue that the redline edits show that Conley deleted
  21    citations to NASA policies that were in an earlier draft and that Conley omitted
  22    the date of the NASA policy he relied upon. Plaintiffs further argue that Conley
  23    intentionally “kept the Magistrate from seeing that the policies were late in
  24    coming, after the Apollo program and after the award would have been made.”
  25    (Opposition at 21:3-5.) Plaintiffs argue, “the fact that Conlely (sic) took this
  26    information out of a previous draft shows that he knew that he was fooling the
  27    magistrate.” (Id. at 6-7.) However, the affidavit submitted to the magistrate judge
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    1   stated:
    2         Based on the Space Act of 1958 and its interpretation via federal
    3         regulations and NASA policies, it is clear that lunar material is a
    4         ‘natural resource,’ and thus, the property of the U.S. Government.
    5         (National Aeronautics and Space Act of 1958, 42 U.S.C. § 247;
    6         NASA Policy Directive 1387.2F).
    7   (Conley Affidavit ¶ 14.)
    8         “To determine the materiality of omitted facts, we consider ‘whether the
    9   affidavit, once corrected and supplemented, establishes probable cause.’” Bravo v.
  10    City of Santa Maria, 665 F.3d 1076, 1084 (9th Cir. 2011) (quoting Ewing v. City
  11    of Stockton, 588 F.3d 1218, 1224 (9th Cir.2009)). Here, had the Defendants
  12    included the omitted dates and NASA policies, the affidavit still would established
  13    probable cause that Plaintiffs were in violation of 8 U.S.C. §641.
  14          Conley’s affidavit stated that Davis told NASA’s registered confidential
  15    source (“RS”) that Davis possessed authentic moon rocks. (Conley Affidavit ¶¶
  16    11, 12.) The affidavit also stated that moon rocks acquired by Apollo missions
  17    are, and have always been, the lawful property of the United States Government.
  18    (Conley Affidavit ¶¶ 12, 14.) Plaintiffs, conversely, do not provide evidence that
  19    they were ever in lawful possession of the moon rocks. Plaintiffs fail to provide
  20    evidence that including the omitted information would have precluded a finding of
  21    probable cause. The Court grants Defendants summary judgment motion as to
  22    Plaintiffs’ Eighth Cause of Action.
  23              3. Plaintiffs’ Tenth Cause of Action: Wrongful Detention
  24          For Fourth Amendment purposes, “a warrant to search for contraband
  25    founded on probable cause implicitly carries with it the limited authority to detain
  26    the occupants of the premises while a proper search is conducted.” Franklin v.
  27    Foxworth, 31 F.3d 873, 876 (9th Cir. 1994) (citation omitted). However, there is a
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    1   caveat: “[S]pecial circumstances, or possibly a prolonged detention,” might lead to
    2   a Fourth Amendment violation “in an unusual case...” Michigan v. Summers, 452
    3   U.S. 692, 705 n. 21 (1981). Even “limited detentions” may be unreasonable if the
    4   facts show unnecessary degradation. Franklin, 31 F.3d at 876.
    5         Plaintiffs provide evidence that Defendants detained Davis, a 73 year old
    6   woman, for approximately two hours with urine-soiled clothing and prevented her
    7   from using the restroom. (Davis Decl. ¶¶ 28-31.) Defendants apprehended Davis
    8   in a Denny’s parking lot, and Defendant Conley threatened to take her in to the
    9   police station while “a big deputy wearing a flack jacket” pushed her every time
  10    she shifted or stepped backward. (Id. ¶ 29-30.) Davis was humiliated. (Id. ¶26.)
  11    When Davis was eventually allowed to drive herself home, she was only permitted
  12    to sit in her kitchen and she was still “not allowed” to go to the bathroom and dry
  13    her soiled clothing. (Id. ¶ 31, 32.)
  14          Defendants dispute the length and lawfulness of Plaintiffs’ detention.
  15    However, Plaintiff Davis’ declaration raises a material dispute of facts precluding
  16    summary judgment. See Franklin, 31 F.3d at 878 (Finding a violation of the
  17    Fourth Amendment when “officers conducted the detention of [a suspect] in a
  18    wholly unreasonable manner—a manner that wantonly and callously subjected an
  19    obviously ill and incapacitated person to entirely unnecessary and unjustifiable
  20    degradation and suffering.”)
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                                        III. CONCLUSION
    1
              The Court GRANTS Defendants Motion as and awards summary judgment
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        in favor of Defendants with regard to Plaintiffs’ following causes of action:
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                    First (Conversion)
    4
                    Second (Battery)
    5
                    Sixth (Petition For Return of Property)
    6
                    Seventh (Excessive Force)
    7
                    Eighth (Wrongful Search & Seizure)
    8
                    Ninth (Wrongful Taking)
    9
        The following causes of action remain in this case:
  10
                  Third (False Imprisonment)
  11
                  Fourth (Abuse of Process)
  12
                  Fifth (Negligence)
  13
                  Tenth (Wrongful Detention)
  14
  15
        IT IS SO ORDERED.
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  18
        DATED: November 19, 2014
  19                                                  CONSUELO B. MARSHALL
  20                                              UNITED STATES DISTRICT JUDGE
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